                                       UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF NORTH CAROLINA
                                           CHARLOTTE DIVISION
                                      DOCKET NO. 3:20-cv-00470-MOC-DSC

                PREGEL AMERICA, INC.,                               )
                                                                    )
                                   Plaintiff(s),                    )
                                                                    )
                Vs.                                                 )      ORDER CONCERNING
                                                                    )    SECTION 636(c) REFERRAL
                                                                    )
                MARCO CASOL                                         )
                TANIA SOVILLA,                                      )

                                  Defendant(s).                     )


                       THIS MATTER is before the Court on its own motion regarding the parties’
              consent to the exercise of jurisdiction by a United States Magistrate Judge, submitted in
              accordance with 28, United States Code, Section 636(c), Rule 73, Federal Rules of Civil
              Procedure, and Local Civil Rule 73.1.
                       In accordance with the Amended Standing Order of Referral (#2), 3:11mc25
              (effective January 1, 2019), the Court has considered reassignment of this matter based on
              the written consent of the parties. Accordingly, the Clerk of Court is HEREBY directed
              to:
                       ☐     Assign this matter to a United States Magistrate Judge; or
                       ☒     Vacate the Section 636(c) referral in accordance with Rule 73(c) and retain
                             the assignment with the United States District Judge.


Signed: September 29, 2021




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